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                      IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE WESTERN DISTRICT OF OKLAHOMA

In Re:                                    )
                                          )
JUAN PABLO VALDEZ,                        )      Case No. 24-12446-JDL
                                          )      Chapter 13
         Debtor.                          )
                                          )      Adv. Proc. No. 24-01081-JDL
Humberto Trejo Dominguez,                 )
                                          )
         Plaintiff,                       )
                                          )
v.                                        )
                                          )
Juan Pablo Valdez,                        )
                                          )
         Defendant.                       )

                       COVER SHEET FOR AFFIDAVIT OF SERVICE




                                          /s/ Cody D. Kerns
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